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                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION


UNITED STATES OF AMERICA,

               Plaintiff,

v.                                                           Case No. 1:07-CR-261

ROBERT JOSEPH CARR, JR.                                      Hon. Robert J. Jonker

               Defendant.

                                              /


                            REPORT AND RECOMMENDATION

               Pursuant to W.D. Mich. LCrR 11.1 and upon a request of the district court, I

conducted a felony plea hearing in this matter on April 8, 2008, after receiving the written consent

of the defendant, the defendant's attorney, and the attorney for the government. These consents were

also placed on the record in open court.

               Defendant Robert Joseph Carr, Jr. is charged in a Superseding Indictment with

distribution of more than 100 kilograms of marijuana. On the basis of this record, I found that

defendant was competent to enter a plea of guilty and that his plea was knowledgeable and voluntary

with a full understanding of each of the rights waived by the defendant, that the defendant fully

understood the nature of the charge and the consequences of his plea, and that the defendant's plea

had a sufficient basis in fact which contained all of the elements of the offense charged.

               There was no written plea agreement in this case.




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                  I accepted the plea of guilty, subject to final acceptance of the plea by the District

Judge. I ordered the preparation of a presentence investigation report, and directed the clerk to

procure a transcript of the plea hearing for review by the District Judge.

                                           Recommendation

                  Based upon the foregoing, I respectfully recommend that the defendant's plea of

guilty to the Superseding Indictment be accepted, and that the court adjudicate the defendant guilty

of that charge.



Dated: April 8, 2008                                     /s/ Hugh W. Brenneman, Jr.
                                                         HUGH W. BRENNEMAN, JR.
                                                         United States Magistrate Judge




                                        NOTICE TO PARTIES

                You have the right to de novo review by the district judge of the foregoing findings.
Any application for review must be in writing, must specify the portions of the findings or
proceedings objected to, and must be filed and served no later than ten (l0) days after the plea
hearing. See W.D. Mich. LCrR 11.1(b). A failure to file timely objections may result in the waiver
of any further right to seek appellate review of the plea-taking procedure. See Thomas v. Arn, 474
U.S. 140 (1985); Neuman v. Rivers, 125 F.3d 315, 322-23 (6th Cir.), cert. denied, 522 U.S. 1030
(1997); United States v. Walters, 638 F.2d 947 (6th Cir. 1981).




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